  Case: 4:08-cv-01687-AGF           Doc. #: 86 Filed: 06/09/09            Page: 1 of 3 PageID #:
                                             1032



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


HARTFORD ACCIDENT AND                              )
INDEMNITY COMPANY, et al.,                         )
                                                   )
             Plaintiffs,                           )
                                                   )
      v.                                           )           No. 4:08-CV-1687 CAS
                                                   )
THE DOE RUN RESOURCES                              )
CORPORATION, et al.,                               )
                                                   )
             Defendants.                           )

                                MEMORANDUM AND ORDER

       This matter is before the Court on defendant The Doe Run Resources Corporation’s (“Doe

Run”) Motion for Certification of April 21, 2009 Interlocutory Order for Appeal Pursuant to 28

U.S.C. § 1292(b) and for Stay of Proceedings Pending Appeal. Doe Run moves this Court to certify

for interlocutory appeal its Memorandum and Order of April 21, 2009 (Doc. 59), which denied Doe

Run’s motion for realignment of the parties and to dismiss for lack of subject matter jurisdiction. The

motion for certification is opposed by plaintiffs Hartford Accident and Indemnity Company and First

State Insurance Company, and by defendant Zurich American Insurance Company. Doe Run did not

file a reply memorandum and the time to do so has passed. As a result, the motion is ready for

decision.

       Pursuant to 28 U.S.C. § 1292(b), immediate appellate review of interlocutory orders that are

not otherwise appealable may be had under certain circumstances:

       When a district judge, in making in a civil action an order not otherwise appealable
       under this section, shall be of the opinion that such order involves a controlling
       question of law as to which there is substantial ground for difference of opinion and
  Case: 4:08-cv-01687-AGF            Doc. #: 86 Filed: 06/09/09             Page: 2 of 3 PageID #:
                                              1033



        that an immediate appeal from the order may materially advance the ultimate
        termination of the litigation, he shall so state in writing in such order. . . . .

28 U.S.C. § 1292(b).

        The Eighth Circuit has observed that it has “long been the policy of the courts to discourage

piece-meal appeals because most often such appeals result in additional burdens to both the court and

the litigants. Permission to allow interlocutory appeals should thus be granted sparingly and with

discrimination.” Union County, Ia. v. Piper Jaffray & Co., Inc., 525 F.3d 643, 646 (8th Cir. 2008)

(quoting White v. Nix, 43 F.3d 374, 376 (8th Cir. 1994)). A party seeking the extraordinary action

of interlocutory review “bears the heavy burden of demonstrating that the case is an exceptional one

in which immediate appeal is warranted.” Id. (quoting White, 43 F.3d at 376). “Section 1292(b)

establishes three criteria for certification: the district court must be of the opinion that (1) the order

involves a controlling question of law; (2) there is substantial ground for difference of opinion; and

(3) certification will materially advance the ultimate termination of the litigation.” Id. (quoting White,

43 F.3d at 377).

        The Court concludes that defendant Doe Run’s proposed interlocutory appeal does not meet

the standard for certification under Section 1292(b) because it does not present a controlling question

of law within the meaning of the statute.

        The decision whether to realign parties to a case is a matter entrusted to the Court’s

discretion. See Anheuser-Busch, Inc. v. John Labatt Ltd., 89 F.3d 1339, 1344 (8th Cir. 1996) (“we

do not believe that the District Court abused its discretion by denying Labatt’s motion to . . . realign

the parties.”); Little Rock Sch. Dist. v. Pulaski County Special Sch. Dist. No. 1, 839 F.2d 1296, 1301

n.5 (8th Cir. 1988) (“the District Court has not abused its discretion in refusing to realign the



                                                    2
  Case: 4:08-cv-01687-AGF           Doc. #: 86 Filed: 06/09/09            Page: 3 of 3 PageID #:
                                             1034



parties”). The Eighth Circuit has held that a matter entrusted to a district court’s discretion does not

present a “controlling question of law” and cannot be certified for interlocutory appeal under Section

1292(b). See White, 43 F.3d at 377 (“an allegation of abuse [of discretion] does not create a legal

issue.”).

        Because the Memorandum and Order of April 21, 2009 does not present a controlling

question of law, the Court need not determine whether the other criteria necessary for interlocutory

appeal are met. The Court finds that Doe Run has failed to meet its burden to establish that this case

is an exceptional one warranting immediate review, and its motion for certification for interlocutory

appeal should be denied.

        Accordingly,

        IT IS HEREBY ORDERED that defendant The Doe Run Resources Corporation’s Motion

for Certification of April 21, 2009 Interlocutory Order for Appeal Pursuant to 28 U.S.C. § 1292(b)

and for Stay of Proceedings Pending Appeal is DENIED. [Doc. 67]




                                                    CHARLES A. SHAW
                                                    UNITED STATES DISTRICT JUDGE


Dated this 9th day of June, 2009.




                                                   3
